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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    EXPRESS, INC., et al., 1                                         )    Case No. 24-10831 (KBO)
                                                                     )
                             Debtors.                                )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. 269

                          NOTICE OF REJECTION OF CERTAIN
                   EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
CONTRACTS OR LEASES ON SCHEDULE 2 ATTACHED HERETO AND READ THE
CONTENTS OF THIS NOTICE CAREFULLY.

             PLEASE TAKE NOTICE that on May 17, 2024 the United States Bankruptcy Court for

the District of Delaware (the “Court”) entered an order on the motion (the “Motion”) 2 of debtors

and debtors in possession (the “Debtors”), approving procedures for the rejection, assumption, or

assumption and assignment of executory contracts and unexpired leases and granting related relief

[Docket No. 269] (the “Procedures Order”) attached hereto as Schedule 1.

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

written notice (this “Rejection Notice”), the Debtors hereby notify you that they have determined,

in the exercise of their business judgment, that each Contract set forth on Schedule 2 attached

hereto is hereby rejected effective as of the date (the “Rejection Date”) set forth in Schedule 2, or


1     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
      numbers, are Express, Inc. (8128), Express Topco LLC (8079); Express Holding, LLC (8454); Express Finance
      Corp. (7713); Express, LLC (0160); Express Fashion Investments, LLC (7622); Express Fashion Logistics, LLC
      (0481); Express Fashion Operations, LLC (3400); Express GC, LLC (6092); Express BNBS Fashion, LLC
      (3861); UW, LLC (8688); and Express Fashion Digital Services Costa Rica, S.R.L. (7382). The location of
      Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is One Express
      Drive, Columbus, Ohio 43230.
2     Capitalized terms used and not otherwise defined herein have the meanings given to them in the Motion.
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such other date as the Debtors and the counterparty or counterparties to any such Contract agree.

If any such Contract is an unexpired lease of non-residential real property (a “Lease”), the rejection

effective date shall be the later of (a) the proposed effective date set forth on the Rejection Notice;

and (b) the date the Debtors relinquish control of the premises by (1) notifying the affected landlord

in writing, with email being sufficient, of the Debtors’ surrender of the premises and turning over

the key, key codes, and security codes, if any, to the affected landlord or (2) notifying the affected

landlord in writing, with email being sufficient, that the keys, key codes, and security codes, if

any, are not available, but that the landlord may rekey the leased premises.

       PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

rejection of any of the Contracts or the abandonment of any personal property remaining in the

premises of any unexpired lease of non-residential real property, must file and serve a written

objection so that such objection is filed with the Court on the docket of the Debtors’ chapter 11

cases no later than ten (10) days after the date that the Debtors served this Notice and promptly

serve such objection on the following parties: (a) the Debtors, Express, Inc., One Express Drive,

Columbus, Ohio 43230, Attn.: Laurel Krueger; (b) proposed counsel to the Debtors (i) Kirkland

& Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Joshua A. Sussberg,

P.C., Emily E. Geier, P.C. and Nicholas M. Adzima, (ii) Kirkland & Ellis LLP, 333 West Wolf

Point Plaza, Chicago, Illinois, 60654, Attn.: Charles B. Sterrett; (iii) Klehr Harrison Harvey

Branzburg LLP, 919 North Market Street, Suite 1000, Wilmington, Delaware 19801, Attn.:

Domenic E. Pacitti, Michael W. Yurkewicz, and Alyssa M. Radovanovich, and (iv) Klehr Harrison

Harvey Branzburg LLP, 1835 Market Street, Suite 1400, Philadelphia, Pennsylvania 19103, Attn.:

Morton R. Branzburg; (c) the applicable Rejection Counterparty to the extent an objection is filed

by a party other than the Rejection Counterparty; (d) the United States Trustee, 844 King Street,


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Suite    2207,      Lockbox   35,     Wilmington,       Delaware   19801,   Attn.:   John   Schanne

(John.Schanne@usdoj.gov); (e) counsel to Wells Fargo Bank, National Association, as

administrative agent for certain prepetition and postpetition lenders of the Debtors (i) Goldberg

Kohn Ltd., 55 E. Monroe St., Suite 3300, Chicago, Illinois 60603, Attn.: Randall Klein

(Randall.Klein@goldbergkohn.com),                       Dimitri             G.              Karcazes

(Dimitri.Karcazes@goldbergkohn.com), Keith G. Radner (Keith.Radner@goldbergkohn.com),

and Eva D. Gadzheva (Eva.Gadzheva@goldbergkohn.com), and (ii) Richards Layton & Finger,

920 N. King Street, Wilmington, Delaware 19801, Attn.: John H. Knight (Knight@RLF.com),

Paul N. Heath (heath@RLF.com), and Alexander R. Steiger (Steiger@RLF.com); (f) counsel to

ReStore Capital, LLC, as administrative agent for certain prepetition and postpetition lenders of

the Debtors (i) Ropes & Gray LLP, 191 North Wacker Drive, 32nd Floor, Chicago, Illinois 60606,

Attn.: Stephen L. Iacovo (stephen.iacovo@ropesgray.com), and (ii) Chipman, Brown, Cicero &

Cole, LLP, 1313 North Market Street, Suite 5400, Wilmington, Delaware 19801, Attn.: Mark L.

Desgrosseilliers (desgross@chipmanbrown.com); and (g) proposed counsel to the Committee, (i)

Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York

10036,      Attn:      Adam         Rogoff   (arogoff@kramerlevin.com),          Robert     Schmidt

(rschmidt@kramerlevin.com), and Nathaniel Allard (nallard@kramerlevin.com); and (ii) Saul

Ewing LLP, 1201 North Market Street, Suite 2300, Wilmington, DE 19801, Attn: Luke Murley

(luke.murley@saul.com). Only those responses that are timely filed, served, and received will be

considered at any hearing.

         PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

rejection of each Contract (other than to the rejection of a Lease) shall become effective on the

applicable Rejection Date set forth in Schedule 2, or such other date as the Debtors and the


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counterparty or counterparties to such Contract agree. 3 If the Contract is a Lease, the Debtors shall

file a Rejection Order under a certificate of no objection. The rejection of each Lease shall become

effective on the applicable Rejection Date set forth in Schedule 2 or such other date to which the

Debtors and the counterparty or counterparties to such Lease agree.

        PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

Contract is timely filed and not withdrawn or resolved, the Debtors shall schedule a hearing to

consider the objection for the Contract or Contracts to which such objection relates. If such

objection is overruled or withdrawn, such Contract or Contracts will only be deemed rejected upon

the entry of a form of Rejection Order resolving the objection as between the Debtors and the

applicable objecting party and/or Rejection Counterparty, unless the Debtors and the applicable

Rejection Counterparty agree otherwise; or as otherwise ordered by the Court.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or

other arrangement, the Contract counterparty may not set off or recoup or otherwise use such

monies without further order of the Court, unless the Debtors and the counterparty or

counterparties to such Contracts otherwise agree.

        PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

property of the Debtors that is listed and described in Schedule 2 attached hereto shall be deemed

abandoned as of the Rejection Date. With respect to Leases, on the Rejection Date landlords may,

without further order of the Court, utilize and/or dispose of such property without notice or liability



3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
    objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
    rejection of any particular Contract listed in this Rejection Notice must state with specificity the Contract to which
    it is directed. For each particular Contract whose rejection is not timely or properly objected to, such rejection
    will be effective in accordance with this Rejection Notice and the Order.


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to the Debtors or consenting third parties other than the DIP Agents, DIP Lenders, ABL Agent,

ABL Lenders, and FILO Lenders and, to the extent applicable, the automatic stay will be modified

to allow such use and/or disposition; provided that unless the DIP Agent, DIP Lenders, ABL

Agent, ABL Lenders, or FILO Lenders file an objection to the release of their interests (if any) in,

or liens on (if any), such property no later than the Rejection Date, the DIP Lenders, ABL Lenders,

and FILO Lenders, as applicable, consent to the release of their interests (if any) in, and liens on

(if any), such property, and any such interests and liens will be released.

        PLEASE TAKE FURTHER NOTICE that to the extent you wish to assert a claim with

respect to rejection of your Contract or Contracts, you must do so by the later of (a) the deadline

for filing proofs of claim established in these chapter 11 cases, if any, and (b) thirty (30) days after

the later of (i) the Rejection Date, and (ii) the date of entry of the Rejection Order. IF YOU FAIL

TO TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE FORM BY THE

DEADLINE SET FORTH HEREIN, YOU WILL BE, FOREVER BARRED, ESTOPPED, AND

ENJOINED FROM (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS AND

THEIR CHAPTER 11 ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN OF

REORGANIZATION FILED IN THESE CASES ON ACCOUNT OF SUCH CLAIM, AND

(3) PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES

ON ACCOUNT OF SUCH CLAIM.




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Dated: May 17, 2024
Wilmington, Delaware

/s/ Domenic E. Pacitti
KLEHR HARRISON HARVEY                               KIRKLAND & ELLIS LLP
BRANZBURG LLP                                       KIRKLAND & ELLIS INTERNATIONAL LLP
Domenic E. Pacitti (DE Bar No. 3989)                Joshua A. Sussberg, P.C. (admitted pro hac vice)
Michael W. Yurkewicz (DE Bar No. 4165)              Emily E. Geier, P.C. (admitted pro hac vice)
Alyssa M. Radovanovich (DE Bar No. 7101)            Nicholas M. Adzima (admitted pro hac vice)
919 North Market Street, Suite 1000                 601 Lexington Avenue
Wilmington, Delaware 19801                          New York, New York 10022
Telephone: (302) 426-1189                           Telephone:     (212) 446-4800
Facsimile: (302) 426-9193                           Facsimile:     (212) 446-4900
Email:       dpacitti@klehr.com                     Email:         joshua.sussberg@kirkland.com
             myurkewicz@klehr.com                                  emily.geier@kirkland.com
             aradovanovich@klehr.com                               nicholas.adzima@kirkland.com
-and-                                               -and-
Morton R. Branzburg (admitted pro hac vice)         Charles B. Sterrett (admitted pro hac vice)
1835 Market Street, Suite 1400                      333 West Wolf Point Plaza
Philadelphia, Pennsylvania 19103                    Chicago, Illinois 60654
Telephone: (215) 569-3007                           Telephone:      (312) 862-2000
Facsimile: (215) 568-6603                           Facsimile:      (312) 862-2200
Email:        mbranzburg@klehr.com                  Email:          charles.sterrett@kirkland.com

Proposed Co-Counsel for the Debtors and             Proposed Co-Counsel for the Debtors and
Debtors in Possession                               Debtors in Possession
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                       Schedule 1

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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    EXPRESS, INC., et al.,1                                          )    Case No. 24-10831 (KBO)
                                                                     )
                             Debtors.                                )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. 16

                 ORDER (I) AUTHORIZING AND APPROVING
             PROCEDURES TO REJECT OR ASSUME EXECUTORY
    CONTRACTS AND UNEXPIRED LEASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”), for entry of an order (this “Order”) (a) authorizing and approving the

Contract Procedures for rejecting or assuming executory contracts and unexpired leases, and

(b) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’


1     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
      numbers, are Express, Inc. (8128), Express Topco LLC (8079); Express Holding, LLC (8454); Express Finance
      Corp. (7713); Express, LLC (0160); Express Fashion Investments, LLC (7622); Express Fashion Logistics, LLC
      (0481); Express Fashion Operations, LLC (3400); Express GC, LLC (6092); Express BNBS Fashion, LLC
      (3861); UW, LLC (8688); and Express Fashion Digital Services Costa Rica, S.R.L. (7382). The location of
      Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is One Express
      Drive, Columbus, Ohio 43230.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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notice of the Motion and opportunity for a hearing on the Motion were appropriate and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The following Rejection Procedures are approved in connection with rejecting

               Contracts:

               a.      Rejection Notice. The Debtors shall file a notice substantially in the form
                       attached hereto as Exhibit 1 (the “Rejection Notice”) indicating the
                       Debtors’ intent to reject a Contract or Contracts pursuant to section 365 of
                       the Bankruptcy Code, which Rejection Notice shall set forth, among other
                       things: (i) the Contract or Contracts to be rejected; (ii) the Debtor or
                       Debtors party to such Contract; (iii) the names and addresses of the
                       counterparties to such Contract(s) (each a “Rejection Counterparty”);
                       (iv) the store number and address of the affected location, if applicable;
                       (v) the proposed effective date of rejection for each such Contract(s) (each,
                       the “Rejection Date”); (vi) if any such Contract is an unexpired lease of
                       non-residential real property (a “Lease”), a description of any property to
                       be abandoned at the leased premises, including any personal property,
                       furniture, fixtures, and equipment (the “Abandoned Property”), if any, and
                       an estimate of the book value of such property, if practicable; (vii) with
                       respect to leased real property, any known third party having an interest in
                       any Abandoned Property located at the leased premises; and (viii) the
                       deadlines and procedures for filing objections to the Rejection Notice (as
                       set forth below). The Rejection Notice may list multiple Contracts;
                       provided that the number of counterparties to Contracts listed on each
                       Rejection Notice shall be limited to no more than 100, provided, further, if
                       any such Contract is a lease, the Rejection Notice shall be accompanied by
                       a proposed form of order (the “Rejection Order”) approving the rejection of
                       the Lease(s), which shall be substantially in the form of Schedule 3 to the
                       Rejection Notice, and no Lease shall be deemed rejected absent entry of an
                       applicable Rejection Order.


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                 b.      Service of the Rejection Notice. The Debtors will cause each Rejection
                         Notice to be served: (i) by overnight delivery service upon the Rejection
                         Counterparties affected by the Rejection Notice at the notice address
                         provided in the applicable Contract (and upon such Rejection
                         Counterparty’s counsel, if known) and all parties who may have any interest
                         in any Abandoned Property (if known); and (ii) by first class mail, email, or
                         fax, upon (A) the office of the United States Trustee for the District of
                         Delaware, Attn.: John Schanne (john.schanne@usdoj.gov); (B) the Debtors’
                         30 largest unsecured creditors (on a consolidated basis); (C) the agents
                         under the Debtors’ prepetition secured facilities and counsel thereto; (D) the
                         Committee and counsel thereto; (E) the United States Attorney’s Office for
                         the District of Delaware; (F) the Internal Revenue Service; (G) the U.S.
                         Securities and Exchange Commission; (H) the attorneys general in the
                         states where the Debtors conduct their business operations; and (I) any party
                         that has requested notice pursuant to Bankruptcy Rule 2002 (collectively,
                         the “Master Notice Parties”).

                 c.      Objection Procedures. Parties objecting to a proposed rejection or to the
                         abandonment of the Abandoned Property must file and serve a written
                         objection3 so that such objection is filed with this Court on the docket of the
                         Debtors’ chapter 11 cases no later than ten (10) days after the date the
                         Debtors file and serve the relevant Rejection Notice (the “Rejection
                         Objection Deadline”) and promptly serve such objection on the following
                         parties (collectively, the “Objection Service Parties”): (i) the Debtors,
                         Express, Inc., One Express Drive, Columbus, Ohio 43230, Attn.: Laurel
                         Krueger (lakrueger@express.com); (ii) proposed co-counsel to the Debtors,
                         Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York
                         10022, Attn.: Joshua A. Sussberg, P.C. (josh.sussberg@kirkland.com);
                         Emily E. Geier, P.C. (emily.geier@kirkland.com); Nicholas M. Adzima
                         (nicholas.adzima@kirkland.com); and Kirkland & Ellis, LLP, 333 West
                         Wolf Point Plaza, Chicago, Illinois 60654, Attn.: Charles B. Sterrett
                         (charles.sterrett@kirkland.com); (iii) proposed co-counsel to the Debtors,
                         Klehr Harrison Harvey Branzburg LLP, 919 North Market Street,
                         Suite 1000, Wilmington, Delaware 19801, Attn.: Domenic E. Pacitti
                         (dpacitti@klehr.com), Michael W. Yurkewicz (myurkewicz@klehr.com),
                         and Alyssa M. Radovanovich (aradvanovich@klehr.com), and Klehr
                         Harrison Harvey Branzburg LLP, 1835 Market Street, Suite 1400,
                         Philadelphia, Pennsylvania 19103, Attn.: Morton R. Branzburg
                         (mbranzburg@klehr.com); (iv) the applicable Rejection Counterparty to the
                         extent an objection is filed by a party other than the Rejection Counterparty;
                         (v) the U.S. Trustee for the District of Delaware, 844 King Street, Suite
                         2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: John Schanne
                         (john.schanne@usdoj.gov); (vi) counsel to Wells Fargo Bank, National
                         Association, as administrative agent for certain prepetition and postpetition

3   An objection to the rejection of any particular Contract listed on a Rejection Notice shall not constitute an
    objection to the rejection of any other Contract listed on such Rejection Notice.

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       lenders of the Debtors, Goldberg Kohn Ltd., 55 E. Monroe St., Suite 3300,
       Chicago,        Illinois     60603,        Attn.:      Randall        Klein
       (Randall.Klein@goldbergkohn.com),           Dimitri       G.      Karcazes
       (Dimitri.Karcazes@goldbergkohn.com),           Keith        G.      Radner
       (Keith.Radner@goldbergkohn.com),          and     Eva      D.     Gadzheva
       (Eva.Gadzheva@goldbergkohn.com); and Richards Layton & Finger, 920
       N. King Street, Wilmington, Delaware 19801, Attn.: John H. Knight
       (Knight@RLF.com), Paul N. Heath (heath@RLF.com), and Alexander R.
       Steiger (Steiger@RLF.com); (vii) counsel to ReStore Capital, LLC, as
       administrative agent for certain prepetition and postpetition lenders of the
       Debtors, Ropes & Gray LLP, 191 North Wacker Drive, 32nd Floor, Chicago,
       Illinois 60606, Attn.: Stephen L. Iacovo (steven.iacovo@ropesgray.com);
       and Chipman, Brown, Cicero & Cole, LLP, 1313 North Market Street, Suite
       5400, Wilmington, Delaware 19801, Attn.: Mark L. Desgrosseilliers
       (desgross@chipmanbrown.com); (viii) proposed counsel to the Committee,
       Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New
       York, New York 10036, Attn: Adam Rogoff (arogoff@kramerlevin.com),
       Robert Schmidt (rschmidt@kramerlevin.com), and Nathaniel Allard
       (nallard@kramerlevin.com); and (ix) proposed co-counsel to the
       Committee, Saul Ewing LLP, 1201 North Market Street, Suite 2300,
       Wilmington, DE 19801, Attn: Luke Murley (luke.murley@saul.com).

 d.    No Objection Timely Filed. If no objection to the rejection of any Contract
       is timely filed (other than to the rejection of a Lease), each Contract listed
       in the applicable Rejection Notice shall be deemed rejected as of the
       applicable Rejection Date set forth in the Rejection Notice or such other
       date as the Debtors and the applicable Rejection Counterparty agree;
       provided, however, if the Contract is a Lease, the Debtors shall submit the
       Rejection Order to the Court under a certificate of no objection authorizing
       the rejection of each such Lease listed in the applicable Rejection Notice to
       be rejected as of the later of (i) the applicable Rejection Date set forth in the
       Rejection Notice or such other date as the Debtors and the applicable
       Rejection Counterparty may agree; and (ii) the date the Debtors relinquish
       control of the premises by (A) notifying the affected landlord in writing,
       with email being sufficient, of the Debtors’ surrender of the premises and
       turning over keys, key codes, and security codes, if any, to the affected
       landlord or (B) notifying the affected landlord in writing, with email being
       sufficient, that the keys, key codes, and security codes, if any, are not
       available, but the landlord may rekey the leased premises; provided, further,
       that the Rejection Date for a Lease rejected pursuant to these Rejection
       Procedures shall not occur earlier than the date the Debtors file and served
       the applicable Rejection Notice.

 e.    Unresolved Timely Objections. If an objection to a Rejection Notice is
       timely filed and properly served as specified above and not withdrawn or
       resolved, the Debtors shall schedule a hearing on such objection and shall
       provide at least ten (10) days’ notice of such hearing to the applicable
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       Rejection Counterparty and the other Objection Service Parties. For the
       avoidance of doubt, such Contract will only be deemed rejected upon the
       entry of a form of Rejection Order resolving the objection as between the
       Debtors and the applicable objecting party and/or Rejection Counterparty;
       unless the Debtors and the applicable Rejection Counterparty agree
       otherwise; or as otherwise ordered by the Court.

 f.    Removal from Schedule. The Debtors reserve the right to remove any
       Contract from the schedule to a Rejection Notice at any time prior to the
       Rejection Date, but shall provide any affected Rejection Counterparty and
       the Objection Service Parties with notice of the removal of any Contract
       from the Rejection Notice within two (2) business days of any such change,
       provided that the Debtors shall not remove any Contract from the schedule
       to a Rejection Notice following the Rejection Date listed on the Rejection
       Notice if they have relinquished control of the premises by notifying the
       affected landlord in writing, with email being sufficient, of the Debtors’
       surrender of the premises as described above and (a) turn over keys, key
       codes, and security codes, if any, to the affected landlord or (b) notify the
       affected landlord in writing, with email being sufficient, that the keys, key
       codes, and security codes, if any, are not available, but the landlord may
       rekey the leased premises.

 g.    No Application of Security Deposits. If the Debtors have deposited monies
       with a Rejection Counterparty as a security deposit or other arrangement,
       such Rejection Counterparty may not set off or recoup or otherwise use such
       deposit without the prior approval of the Court, unless the Debtors and the
       applicable Rejection Counterparty otherwise agree.

 h.    Abandoned Property. The Debtors are authorized, but not directed, at any
       time on or before the applicable Rejection Date, to remove or abandon any
       of the Debtors’ personal property that may be located on the Debtors’ leased
       premises that are subject to a rejected Lease. The Debtors shall generally
       describe the Abandoned Property in the Rejection Notice and their intent to
       abandon such property. Absent a timely objection, any and all Abandoned
       Property located on the Debtors’ leased premises on the Rejection Date of
       the applicable Lease shall be deemed abandoned pursuant to section 554 of
       the Bankruptcy Code, as is, effective as of the Rejection Date. The rights,
       claims, and remedies, if any, of all persons other than the Debtors and their
       estates with respect to the Abandoned Property under applicable law are
       hereby preserved; provided that the landlords may, without further order of
       this Court, utilize and/or dispose of the Abandoned Property without notice
       or liability to the Debtors or consenting third parties other than the DIP
       Agents, DIP Lenders, ABL Agent, ABL Lenders, and FILO Lenders and,
       to the extent applicable, the automatic stay is modified to allow such use
       and/or disposition; provided further, that unless the DIP Agent, DIP
       Lenders, ABL Agent, ABL Lenders, or FILO Lenders file an objection to
       the release of their interests (if any) in, or liens on (if any), the Abandoned

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             Property no later than the Rejection Date, the DIP Lenders, ABL Lenders,
             and FILO Lenders, as applicable, consent to the release of their interests (if
             any) in, and liens on (if any), the Abandoned Property, and any such
             interests and liens are hereby released; provided further, that the Debtors
             shall provide the DIP Agents, DIP Lenders, ABL Agent, ABL Lenders, and
             FILO Lenders, and any other party reasonably known by the Debtors to
             have a material interest in any Abandoned Property, with three (3) days’
             advance written notice (or such other time as commercially practicable),
             which notice may be via e-mail to counsel of the DIP Agents, DIP Lenders,
             ABL Agent, ABL Lenders, and FILO Lenders, of filing a Rejection Notice
             that contains leases of non-residential real property and a general
             description of any Abandoned Property the Debtors expect to abandon in
             connection with such rejected leases.

      i.     Proofs of Claim. Claims arising out of the rejection of Contracts, if any,
             must be filed on or before the later of (i) the deadline for filing proofs of
             claim established in these chapter 11 cases, if any, and (ii) thirty (30) days
             after the later of (A) the applicable Rejection Date, and (B) the date of entry
             of any Rejection Order. If no proof of claim is timely filed, such claimant
             shall be forever barred from asserting a claim for damages arising from the
             rejection and from participating in any distributions on account of such
             claim that may be made in connection with these chapter 11 cases.

3.    The following Assumption Procedures are approved in connection with assuming

      and assuming and assigning Contracts:

      a.     Assumption Notice. The Debtors shall file a notice substantially in the form
             attached hereto as Exhibit 2 (the “Assumption Notice”) indicating the
             Debtors’ intent to assume a Contract or Contracts pursuant to section 365
             of the Bankruptcy Code, which shall set forth, among other things: (i) the
             Contract or Contracts to be assumed; (ii) the names and addresses of the
             counterparties to such Contracts (each an “Assumption Counterparty”);
             (iii) the Debtor or Debtors party to such Contract; (iv) the store number and
             address of the affected location, if applicable; (v) the identity of the
             proposed assignee of such Contracts (the “Assignee”), if applicable; (vi) the
             effective date of the assumption for each such Contract (the “Assumption
             Date”); (vii) the proposed cure amount, if any for each such Contract;
             (viii) a description of any material amendments to the Contract made
             outside of the ordinary course of business as consented to in writing with
             the applicable Assumption Counterparty; and (ix) the deadlines and
             procedures for filing objections to the Assumption Notice (as set forth
             below). The Assumption Notice may list multiple Contracts; provided that
             the number of counterparties to Contracts listed on the Assumption Notice
             shall be limited to no more than 100. If any such Contract is a Lease, the
             Assumption Notice shall be accompanied by a proposed form of order (the
             “Assumption Order”) approving the assumption or assumption and
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                          assignment of the Lease(s), which shall be substantially in the form of
                          Schedule 3 to the Assumption Notice, and no Lease shall be deemed
                          assumed absent entry of an applicable Assumption Order.

                 b.       Service of the Assumption Notice and Evidence of Adequate Assurance.
                          The Debtors will cause the Assumption Notice to be served (i) by overnight
                          delivery upon the Assumption Counterparties affected by the Assumption
                          Notice and each Assignee, if applicable, at the address set forth in the notice
                          provision of the applicable Contract (and upon the Assumption
                          Counterparties’ counsel, if known) and (ii) by first class mail, email, or fax
                          upon the Master Notice Parties.4 To the extent the Debtors seek to assume
                          or assume and assign a Lease, the Debtors will cause evidence of adequate
                          assurance of future performance to be served with the Assumption Notice
                          by overnight delivery upon the Lease Assumption Counterparties affected
                          by the Assumption Notice at the address set forth in the notice provision of
                          the applicable Lease (and upon the Lease Assumption Counterparties’
                          counsel, if known, by electronic mail).

                 c.       Objection Procedures. Parties objecting to a proposed assumption or
                          assumption and assignment (including as to the cure amount), as applicable,
                          of a Contract must file and serve a written objection5 so that such objection
                          is filed with this Court and actually received by the Objection Service
                          Parties no later than ten (10) days after the date the Debtors file and serve
                          the relevant Assumption Notice and promptly serve such objection on the
                          Objection Service Parties.

                 d.       No Objection. If no objection to the assumption of any Contract is timely
                          filed, (other than to the assumption or assumption and assignment of a
                          Lease), each Contract listed in the applicable Assumption Notice shall be
                          deemed assumed or assumed and assigned, as applicable, as of the
                          applicable Assumption Date set forth in the Assumption Notice or such
                          other date as the Debtors and the applicable Assumption Counterparty may
                          agree; provided, however, if the Contract is a Lease, the Debtors shall
                          submit the Assumption Order to the Court under a certificate of no objection
                          authorizing the assumption of each Lease, which shall be assumed or
                          assumed and assigned as of the Assumption Date set forth in the applicable
                          Assumption Notice or such other date as the Debtors and the applicable
                          Assumption Counterparties may agree, and the proposed cure amount shall
                          be binding on all counterparties to such Contract and no amount in excess
                          thereof shall be paid for cure purposes; provided, however, that the


4   The Debtors shall serve (by electronic mail, if requested) a counterparty to a Contract other than a lease of
    non-residential real property to be assumed under the Contract Procedures with evidence of adequate assurance
    as soon as reasonably practicable upon such counterparty’s written request to the Debtors’ proposed counsel.
5   An objection to the assumption of any particular Contract listed on an Assumption Notice shall not constitute an
    objection to the assumption of any other Contract listed on such Assumption Notice.

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                       Assumption Date for a Lease shall not occur earlier than the date the
                       Debtors file and serve the applicable Assumption Notice.

               e.      Unresolved Timely Objections. If an objection to an Assumption Notice is
                       timely filed and properly served as specified above and not withdrawn or
                       resolved, the Debtors shall schedule a hearing on such objection and shall
                       provide at least ten (10) days’ notice of such hearing to the applicable
                       Assumption Counterparty and the other Objection Service Parties. For the
                       avoidance of doubt, such Contract will only be deemed assumed or assumed
                       and assigned upon the entry of an Assumption Order, unless otherwise
                       agreed as between the Debtors and the applicable Assumption
                       Counterparty. If such objection is overruled or withdrawn, such Contract
                       shall be assumed as of the date of the Assumption Order, or such other date
                       to which the Debtors, the applicable objecting party or applicable assignee
                       and/or Assumption Counterparty have agreed; or as otherwise ordered by
                       the Court.

               f.      Removal from Schedule. The Debtors reserve the right to remove any
                       Contract from the schedule to an Assumption Notice at any time prior to the
                       Assumption Order (including, without limitation, upon the failure of any
                       proposed assumption and assignment to close).

       4.      The Debtors’ right to assert that any provisions in the Contract that expressly or

effectively restrict, prohibit, condition, or limit the assignment of or the effectiveness of such

Contract to an Assignee are unenforceable anti-assignment or ipso facto clauses is fully reserved.

       5.      The Debtors are hereby authorized, pursuant to section 363(b) of the Bankruptcy

Code, to enter into the consensual amendments as set forth in an Assumption Notice.

       6.      Approval of the Contract Procedures and this Order will not prevent the Debtors

from seeking to reject or assume a Contract by separate motion.

       7.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute any particular

claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order or the Motion;

(e) a request or authorization to assume any agreement, contract, or lease pursuant to section 365

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of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’, or any other party in interest’s,

rights under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors

that any liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to

the Motion are valid, and the rights of all parties are expressly reserved to contest the extent,

validity, or perfection or seek avoidance of all such liens. Any payment made pursuant to this

Order is not intended and should not be construed as an admission as the validity of any particular

claim or a waiver of the Debtors’ rights to subsequently dispute such claim.

       8.      All rights and defenses of the Debtors are preserved, including all rights and

defenses of the Debtors with respect to a claim for damages arising as a result of a Contract

rejection, including any right to assert an offset, recoupment, counterclaim, or deduction. In

addition, nothing in this Order or the Motion shall limit the Debtors’ ability to subsequently assert

that any particular Contract is expired or terminated and is no longer an executory contract or

unexpired lease, respectively.

       9.      To the extent that the Debtors propose to abandon any personal property that may

contain “personally identifiable information,” as that term is defined in section 101(41A) of the

Bankruptcy Code, or other personal and/or confidential information about the Debtors’ employees

and/or customers, or any other individual (the “Confidential Information”), the Debtors shall

remove the Confidential Information from such personal property before such abandonment.

       10.     The Debtors are not authorized to abandon, and are directed to remove, any

hazardous materials defined under applicable law from any non-residential real property subject

to a rejected Contract as, and to the extent they are, required to do so by applicable law.

       11.     The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests


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that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.

       12.     Notwithstanding anything to the contrary in this Order, any payment made, or

authorization contained, hereunder, shall be subject to the “Approved Budget” as defined in the

order of the Court approving the debtor-in-possession financing in these chapter 11 cases.

       13.     Notice of the Motion as provided therein constitutes good and sufficient notice of

such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       14.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       15.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       16.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




   Dated: May 17th, 2024                               KAREN B. OWENS
   Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE

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                       Schedule 2

                    Rejected Contracts
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Store #          Store Name                                   Counterparty Name                                          Counterparty Address                                                             Contract Description                 Abandoned Property                                        Store Address (if applicable)     Rejection Date

                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4022     NEWBURY STREET        AP Newbury Street Portfolio #1, LLC                  1616 Camden Road, Suite 210, Charlotte, NC 28203                                            Lease agreement for premises                                                                      172 Newbury Street, Boston, MA 02116                      5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5002     BACK BAY              AP Newbury Street Portfolio #1, LLC                  802 Gervais Street, Suite 200, Columbia, SC 29201, ATTN: Newbury Property Management        Lease agreement for premises                                                                      283 Dartmouth Street, Boston, Massachusetts 02116         5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4023     BELLEVUE COLLECTION   Bellevue Square, LLC                                 Post Office Box 908, Bellevue, Washington 98009                                             Lease agreement for premises                                                                      575 Bellevue Square, Bellevue, WA 98004                   5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4028     M STREET              Canal Square Associates                              c/o R B Properties, Inc. 1054 31st, N.W., Suite 1000, Washington, DC 20007                  Lease agreement for premises                                                                      3110 M Street, Washington, DC 20007                       5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     c/o Unico Properties LLC
                                                                                     Attn: Senior Vice President / CFO                                                                                                             Fixtures, shelving, equipment, inventory, and
 4037     PEARL STREET          CITIZENS NATIONAL BANK BUILDING, LLC                                                                                                             Lease agreement for premises                                                                      1430 Pearl Street, Boulder, CO 80302                      5/31/2024
                                                                                     1215 Fourth Avenue, Suite 600                                                                                                                 personal property remaining on the premises
                                                                                     Seattle, WA 98161
                                                                                     c/o Cornerstone Real Estate Advisors LLC                                                                                                      Fixtures, shelving, equipment, inventory, and
 5010     LA BREA               CPF District Owner, LLC                                                                                                                          Lease agreement for premises                                                                      101 S La Brea Ave, Los Angeles, California 90036          5/31/2024
                                                                                     2321 Rosecrans Ave, Suite 4225, El Segundo, CA 90245, ATTN: Asset Manager                                                                     personal property remaining on the premises
                                                                                     c/o KLM Equities Inc., 920 Broadway 17th Fl, New York, New York, 10010, Attn: Zachary                                                         Fixtures, shelving, equipment, inventory, and
 5017     FIFTH AVE (NYC)       EKFH LLC                                                                                                                                         Lease agreement for premises                                                                      95 Fifth Avenue, New York, New York 10003                 5/31/2024
                                                                                     Kleinhandler                                                                                                                                  personal property remaining on the premises
                                                                                     c/o Federal Realty Investment Trust                                                                                                           Fixtures, shelving, equipment, inventory, and
 4016     SANTANA ROW           FRIT San Jose Town and Country Village, LLC                                                                                                      Lease agreement for premises                                                                      356 Santa Row, San Jose, CA 95128                         5/31/2024
                                                                                     909 Rose Avenue, Suite #200, North Bethesda, MD 20852, ATTN: Legal Department                                                                 personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4029     GREEN HILLS           GREEN HILLS MALL TRG LLC                             200 East Long Lake Road, Suite 300, Bloomfield Hills, Michigan 48304-2324                   Lease agreement for premises                                                                      2126 Abbott Martin Rd, Nashville, TN 37215                5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     Mall of America Management Office
                                                                                     2131 Lindau Lane — Suite 500                                                                                                                  Fixtures, shelving, equipment, inventory, and
 4021     MALL OF AMERICA       MOAC MALL HOLDINGS LLC                                                                                                                           Lease agreement for premises                                                                      130 South Avenue , Bloomington, MN 55425                  5/31/2024
                                                                                     Bloomington, Minnesota 55425-2640                                                                                                             personal property remaining on the premises
                                                                                     Email: legal notices moa.net
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5014     MONTGOMERY MALL       Montgomery Mall Owner LLC                            2049 Century Park East, 41st Floor, Los Angeles, California 90067                           Lease agreement for premises                                                                      7101 Democracy Blvd, Bethesda, Maryland 20817             5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5066     THE MERCANTILE        PIZZUTI GM, LLC                                      629 N. High Street, Suite 500, Columbus, Ohio 43215                                         Lease agreement for premises                                                                      883 N High St., Columbus, Ohio 43215                      5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     AP 1519-1521 Walnut Streetm LP
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5024     WALNUT ST             Sam Walnut, LLC                                      802 Gervais Street, Suite 200, ATTN: Elm. St. Property Management                           Lease agreement for premises                                                                      1519 Walnut Street, Philadelphia, PA 19102                5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     Columbia, SC 29201
                                                                                     Street Retail, Inc.
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5065     THE POINT             Street Retail, Inc.                                  c/o Federal Realty Investment Trust                                                         Lease agreement for premises                                                                      860 Pacific Coast Hwy, El Segundo, California 90245       5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     1626 East Jefferson Street, Rockvile, MD 20852-4041, ATTN: Legal Department
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4019     ROOSEVELT FIELD       The Retail Property Trust                            225 West Washington Street, Indianapolis, Indiana 46204                                     Lease agreement for premises                                                                      630 Old Country Rd, Suite 1085, Garden City, NY 11530     5/17/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4041     SOHO                  Waller Realty LLC.                                   103 Mercer Street, New York, New York, 10012                                                Lease agreement for premises                                                                      107 Spring Street, New York, NY 10012                     5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5068     GARDEN STATE          WESTLAND GARDEN STATE PLAZA LIMITED PARTNERSHIP      2049 Century Park East, 41st Floor, Los Angeles, California 90067, ATTN: Legal Department   Lease agreement for premises                                                                      1 Garden State Plaza Blvd, Paramus, New Jersey 07652      5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
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                       Schedule 3

            Proposed Contract Rejection Order
                 Case 24-10831-KBO              Doc 271       Filed 05/17/24        Page 21 of 26




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    EXPRESS, INC., et al.,1                                          )     Case No. 24-10831 (KBO)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

                                ORDER AUTHORIZING
                  THE DEBTORS TO REJECT CERTAIN UNEXPIRED LEASES

             Pursuant to and in accordance with the Order (I) Authorizing and Approving Procedures

to Reject or Assume Executory Contracts and Unexpired Leases and (II) Granting Related Relief

[Docket No. 269] (the “Contract Procedures Order”)2 entered in the chapter 11 cases of the above-

captioned debtors and debtors in possession (collectively, the “Debtors”); and it appearing that the

Notice of Rejection of Certain Executory Contracts and/or Unexpired Leases [Docket No. [●]]

(the “Rejection Notice”) satisfies the requirements set forth in the Contract Procedures Order; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that



1     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
      numbers, are Express, Inc. (8128), Express Topco LLC (8079); Express Holding, LLC (8454); Express Finance
      Corp. (7713); Express, LLC (0160); Express Fashion Investments, LLC (7622); Express Fashion Logistics, LLC
      (0481); Express Fashion Operations, LLC (3400); Express GC, LLC (6092); Express BNBS Fashion, LLC
      (3861); UW, LLC (8688); and Express Fashion Digital Services Costa Rica, S.R.L. (7382). The location of
      Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is One Express
      Drive, Columbus, Ohio 43230.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Contract
      Procedures Order.
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venue of this proceeding and the Rejection Notice in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Rejection Notice is

in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Rejection Notice and opportunity for a hearing

on the Rejection Notice were appropriate and no other notice need be provided; and this Court

having reviewed the Rejection Notice; and this Court having determined that the legal and factual

bases set forth in the Rejection Notice establish just cause for the relief granted herein; and upon

all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT

       1.      The Contracts set forth in Exhibit 1 attached hereto are hereby rejected as of the

Rejection Date established in the Rejection Notice; provided, however, if any such Contract is an

unexpired lease of non-residential real property (a “Lease”), the rejection effective date shall be

the later of (a) the effective date set forth on the Rejection Notice; and (b) the date the Debtors

relinquish control of the premises by (1) notifying the affected landlord in writing, with email

being sufficient, of the Debtors’ surrender of the premises and turning over the key, key codes,

and security codes, if any, to the affected landlord or (2) notifying the affected landlord in writing,

with email being sufficient, that the keys, key codes, and security codes, if any, are not available,

but that the landlord may rekey the leased premises.

       2.      Any and all property located on the Debtors’ leased premises on the Rejection Date

of the applicable lease of non-residential real property shall be deemed abandoned pursuant to

section 554 of the Bankruptcy Code, as is, effective as of the Rejection Date. The applicable

Contract counterparty or counterparties may, in their sole discretion and without further order of

this Court, utilize and/or dispose of such property without further notice or liability to the Debtors
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or consenting third parties and, to the extent applicable, the automatic stay is modified to allow

such disposition.

        3.      If any affected Rejection Counterparty to a Contract asserts a claim against the

Debtors arising from the rejection of the Contract, the Counterparty must file a proof of claim on

or before the later of (i) the applicable deadline for filing proofs of claim established in these

chapter 11 cases, and (ii) thirty (30) days after the later of (i) the Rejection Date, and (ii) the date

of entry of this Order. If no proof of claim is timely filed, such claimant shall be forever barred

from asserting a claim for damages arising from the rejection and from participating in any

distributions on such a claim that may be made in connection with these chapter 11 cases.

        4.      Nothing contained in the Rejection Notice or this Order, and no action taken

pursuant to the relief requested or granted (including any payment made in accordance with this

Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication, admission or finding that any particular claim is an administrative expense claim,

other priority claim or otherwise of a type specified or defined in the Rejection Notice or this

Order; (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority,

enforceability or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; or (g) a waiver or limitation of any claims, causes of action or other rights

of the Debtors or any other party in interest against any person or entity under the Bankruptcy

Code or any other applicable law.
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       5.      All rights and defenses of the Debtors are preserved, including all rights and

defenses of the Debtors with respect to a claim for damages arising as a result of a Contract

rejection, including any right to assert an offset, recoupment, counterclaim, or deduction.

In addition, nothing in this Order or the Rejection Notice shall limit the Debtors’ ability to

subsequently assert that any particular Contract is terminated and is no longer an executory

contract or unexpired lease, respectively.

       6.      Notice of the Rejection Notice as provided therein shall be deemed good and

sufficient notice of such Rejection Notice and the requirements of Bankruptcy Rule 6004(a) and

the Local Rules are satisfied by such notice.

       7.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       8.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.

       9.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.
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                       EXHIBIT 1

                    Rejected Contracts
                                                                                  Case 24-10831-KBO                                                      Doc 271                       Filed 05/17/24                            Page 26 of 26


Store #          Store Name                                   Counterparty Name                                          Counterparty Address                                                             Contract Description                 Abandoned Property                                        Store Address (if applicable)     Rejection Date

                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4022     NEWBURY STREET        AP Newbury Street Portfolio #1, LLC                  1616 Camden Road, Suite 210, Charlotte, NC 28203                                            Lease agreement for premises                                                                      172 Newbury Street, Boston, MA 02116                      5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5002     BACK BAY              AP Newbury Street Portfolio #1, LLC                  802 Gervais Street, Suite 200, Columbia, SC 29201, ATTN: Newbury Property Management        Lease agreement for premises                                                                      283 Dartmouth Street, Boston, Massachusetts 02116         5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4023     BELLEVUE COLLECTION   Bellevue Square, LLC                                 Post Office Box 908, Bellevue, Washington 98009                                             Lease agreement for premises                                                                      575 Bellevue Square, Bellevue, WA 98004                   5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4028     M STREET              Canal Square Associates                              c/o R B Properties, Inc. 1054 31st, N.W., Suite 1000, Washington, DC 20007                  Lease agreement for premises                                                                      3110 M Street, Washington, DC 20007                       5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     c/o Unico Properties LLC
                                                                                     Attn: Senior Vice President / CFO                                                                                                             Fixtures, shelving, equipment, inventory, and
 4037     PEARL STREET          CITIZENS NATIONAL BANK BUILDING, LLC                                                                                                             Lease agreement for premises                                                                      1430 Pearl Street, Boulder, CO 80302                      5/31/2024
                                                                                     1215 Fourth Avenue, Suite 600                                                                                                                 personal property remaining on the premises
                                                                                     Seattle, WA 98161
                                                                                     c/o Cornerstone Real Estate Advisors LLC                                                                                                      Fixtures, shelving, equipment, inventory, and
 5010     LA BREA               CPF District Owner, LLC                                                                                                                          Lease agreement for premises                                                                      101 S La Brea Ave, Los Angeles, California 90036          5/31/2024
                                                                                     2321 Rosecrans Ave, Suite 4225, El Segundo, CA 90245, ATTN: Asset Manager                                                                     personal property remaining on the premises
                                                                                     c/o KLM Equities Inc., 920 Broadway 17th Fl, New York, New York, 10010, Attn: Zachary                                                         Fixtures, shelving, equipment, inventory, and
 5017     FIFTH AVE (NYC)       EKFH LLC                                                                                                                                         Lease agreement for premises                                                                      95 Fifth Avenue, New York, New York 10003                 5/31/2024
                                                                                     Kleinhandler                                                                                                                                  personal property remaining on the premises
                                                                                     c/o Federal Realty Investment Trust                                                                                                           Fixtures, shelving, equipment, inventory, and
 4016     SANTANA ROW           FRIT San Jose Town and Country Village, LLC                                                                                                      Lease agreement for premises                                                                      356 Santa Row, San Jose, CA 95128                         5/31/2024
                                                                                     909 Rose Avenue, Suite #200, North Bethesda, MD 20852, ATTN: Legal Department                                                                 personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4029     GREEN HILLS           GREEN HILLS MALL TRG LLC                             200 East Long Lake Road, Suite 300, Bloomfield Hills, Michigan 48304-2324                   Lease agreement for premises                                                                      2126 Abbott Martin Rd, Nashville, TN 37215                5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     Mall of America Management Office
                                                                                     2131 Lindau Lane — Suite 500                                                                                                                  Fixtures, shelving, equipment, inventory, and
 4021     MALL OF AMERICA       MOAC MALL HOLDINGS LLC                                                                                                                           Lease agreement for premises                                                                      130 South Avenue , Bloomington, MN 55425                  5/31/2024
                                                                                     Bloomington, Minnesota 55425-2640                                                                                                             personal property remaining on the premises
                                                                                     Email: legal notices moa.net
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5014     MONTGOMERY MALL       Montgomery Mall Owner LLC                            2049 Century Park East, 41st Floor, Los Angeles, California 90067                           Lease agreement for premises                                                                      7101 Democracy Blvd, Bethesda, Maryland 20817             5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5066     THE MERCANTILE        PIZZUTI GM, LLC                                      629 N. High Street, Suite 500, Columbus, Ohio 43215                                         Lease agreement for premises                                                                      883 N High St., Columbus, Ohio 43215                      5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     AP 1519-1521 Walnut Streetm LP
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5024     WALNUT ST             Sam Walnut, LLC                                      802 Gervais Street, Suite 200, ATTN: Elm. St. Property Management                           Lease agreement for premises                                                                      1519 Walnut Street, Philadelphia, PA 19102                5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     Columbia, SC 29201
                                                                                     Street Retail, Inc.
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5065     THE POINT             Street Retail, Inc.                                  c/o Federal Realty Investment Trust                                                         Lease agreement for premises                                                                      860 Pacific Coast Hwy, El Segundo, California 90245       5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                     1626 East Jefferson Street, Rockvile, MD 20852-4041, ATTN: Legal Department
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4019     ROOSEVELT FIELD       The Retail Property Trust                            225 West Washington Street, Indianapolis, Indiana 46204                                     Lease agreement for premises                                                                      630 Old Country Rd, Suite 1085, Garden City, NY 11530     5/17/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 4041     SOHO                  Waller Realty LLC.                                   103 Mercer Street, New York, New York, 10012                                                Lease agreement for premises                                                                      107 Spring Street, New York, NY 10012                     5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
                                                                                                                                                                                                                                   Fixtures, shelving, equipment, inventory, and
 5068     GARDEN STATE          WESTLAND GARDEN STATE PLAZA LIMITED PARTNERSHIP      2049 Century Park East, 41st Floor, Los Angeles, California 90067, ATTN: Legal Department   Lease agreement for premises                                                                      1 Garden State Plaza Blvd, Paramus, New Jersey 07652      5/31/2024
                                                                                                                                                                                                                                   personal property remaining on the premises
